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                  UNITED STATES DISTRICT C                                                        COpy

                                    DISTRICT OF ARIZONA                              AUG 2 2 2011
                                                                                 CLERK U S DISTRICT COURT
       UNITED STATES OF AMERICA                                                    DISTRICT OF ARIZONA
                                                                                                    DEPUTY
                               V.
                  Corbert Goldtooth,                      CASE NUMBER: \ l-.~030rn ~ "k.T -Vl1~ ~
                 Gage Goldtooth, and
                    Myron Tsosie

        I, Matthew W. Shelley, the undersigned complainant, being duly sworn state the following is
true and correct to the best of my knowledge and belief:
                                                 Count 1

        On or about July 31, 2011, in the District of Arizona, and within the confines of the Navajo
Nation Indian Reservation, Indian Country, the defendants, Corbert Goldtooth (an adult Indian male),
Gage Goldtooth (an adult Indian male), and Myron Tsosie (an adult Indian male), by force, violence,
and intimidation, did take from the person and presence of Kallen Crawford (an adult Indian male) and
Sheldon Davis (an adult Indian male) a thing of value, that being a package of Tops brand tobacco, in
violation of Title 18, United States Code, Sections 2111, 1153, and 2.


        I further state that I am a Special Agent with the Federal Bureau of Investigation and that this
complaint is based on the following facts:
        See attached affidavit incorporated by reference herein.

Continued on attached sheet and made a part hereof:       X Yes        No

REVEIWED BY: Assistant United States Attorney Patrick J. Schneider

Matthew W. Shelley, Special Agent, FBI
Complainant's Name and Title


Sworn to before me and subscribed in my presence,

         t - '-1- I ,                                at     Flagstaff, Arizona
Date                                                        City and State



Mark E. Aspey, U.S. Magistrate Judge
Name & Title of Judicial Office
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                                DISTRICT OF ARIZONA
             AFFIDAVIT OF SPECIAL AGENT MATTHEW W. SHELLEY


     I, Matthew W. Shelley, being duly sworn, hereby depose and state the following:
       1.     Your affiant, Matthew W. Shelley, does hereby state that he is a Special
Agent (SA) with the Federal Bureau of Investigation (FBI) and as such is vested with the
authority to investigate violations of Federal laws, including Title 18, United States Code,
Section 1153. Your affiant is currently assigned to the Phoenix Division of the FBI,
Gallup, New Mexico Resident Agency and has primary investigative responsibilities for
crimes occurring in Indian Country, within the District of Arizona.
       2.     The statements contained in this affidavit are based on your affiant's
investigation, as well as information derived from reports and interviews of the law
enforcement officers and witnesses named herein. Because this affidavit is made for the
limited purpose of establishing probable cause, your affiant has not listed each and every
fact known to him concerning this investigation.
       3.     On or about August 1,2011, your affiant was contacted by Navajo Division
of Criminal Investigations (NDCI) Criminal Investigator (CI) Samantha Yazzie regarding
a robbery that occurred at the Conoco gas station in Fort Defiance, Arizona, which lies
wholly within the confines of the Navajo Nation Indian Reservation (Indian Country)
during the early morning hours of July 3 1, 2011. According to CI Yazzie, on July 31,
2011, Navajo Department of Law Enforcement (NDLE) Police Officer Leland Tom
responded to a complaint of two male individuals that were robbed at knife point by three
male individuals at the Conoco gas station on said date. CI Yazzie advised that Officer
Tom initiated a traffic stop on a tan colored sedan believed to have been the get away
vehicle and located three male individuals inside it, who were later identified as Corbert
Goldtooth (an adult Indian male), Gage Goldtooth (an adult Indian male), and Myron
Tsosie (an adult Indian male). Officer Tom recovered a large silver knife near the tan
vehicle, which he had observed being thrown from the vehicle when he initiated the traffic
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stop. Officer Tom also recovered a black baseball bat during the traffic stop. CI Yazzie
also advised that a black, folding style knife was also recovered by NDLE officers from
one of the three male individuals. CI Yazzie advised that Corbert Goldtooth (herein
referred to as Corbert) and Myron Tsosie (herein referred to as Myron) were placed under
arrest for public intoxication and transported to the Window Rock Detention Center in
Window Rock, Arizona. CI Yazzie further reported that Gage Goldtooth (herein referred
to as Gage) was transported to the Fort Defiance Indian Health Service hospital in Fort
Defiance, Arizona to obtain treatment for a cut on his hand. CI Yazzie advised that Myron
and Corbert were released from the Window Rock Detention Center sometime on July 31,
2011. CI Yazzie informed your affiant that a female, later identified as Valerie Apachito
(an adult Indian female), was driving the tan sedan at the time Officer Tom conducted the
traffic stop. Valerie Apachito (herein referred to as Valerie) was not arrested at the time
of the traffic stop and was allowed to return home. CI Yazzie further advised that she and
CI Michael Henderson were in possession of the large silver knife, the baseball bat, and the
folding knife at that time.
       4.     On August 1, 2011, your affiant and CI Michael Henderson conducted an
interview of Valerie Apachito outside her residence in Fort Defiance, Arizona. According
to Valerie, on July 31, 2011, at approximately 1:45 a.m., Valerie heard the doorbell of her
residence ring and opened the door to find Corbert, Myron, and Gage outside her residence.
Corbert, Myron, and Gage asked to use her restroom, at which point she allowed them to
come inside. Corbert, Myron, and Gage went into her restroom and shut the door; they
stayed for approximately five minutes. After they exited the bathroom, Valerie noticed
that Gage had a white towel wrapped around his hand. Gage told Valerie that he cut his
hand while skateboarding. Valerie, Corbert, Myron, and Gage then left her residence and
traveled to the Conoco store in Fort Defiance, Arizona in Valerie's tan colored Chevrolet
four door sedan. Valerie advised that she was in the driver seat of the vehicle, Myron was

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in the front passenger seat, Gage was in the left rear passenger seat, and Corbert was in the
right rear passenger seat at that time. After arriving at the Conoco, Valerie parked her
vehicle on the north side of the business and got out of her vehicle to throw several empty
soda cans and other trash away. Corbert, Gage, and Myron also exited the vehicle and
approached two males dressed in all black that were sitting on the side of the building near
the ice machine smoking cigarettes. According to Valerie, she observed Corbert, Gage
and Myron talking with the two males, but she could not hear what was said. A short time
later, Corbert, Gage, and Myron returned to her vehicle, but did not tell Valerie what they
said to the two males. Valerie, Corbert, Gage, and Myron then left the Conoco and drove
around the area for a short time. Thereafter, Valerie was stopped by the police near the
"Thatsaburger" restaurant in Fort Defiance, Arizona. As she was being pulled over,
Valerie heard Corbert or Gage tell the other to throw something out of the back window of
her vehicle. Valerie did not see the object that was thrown out of the window, but
believed it to be a small pocket knife. Valerie was later informed by the police officer that
it was a large silver knife that had been thrown from the vehicle. Valerie advised that
Corbert and Myron were arrested, and Gage was taken to the hospital by an ambulance
because of the cut on his hand. Valerie was then allowed to leave the area and returned to
her residence. Valerie reported that at the time she was stopped by the police, Corbert was
wearing a black shirt and green "track" pants or regular pants, Gage was wearing a black
shirt and black pants, and Myron was wearing a black shirt and green "Dickies" brand
shorts. Valerie pointed out her vehicle that she was driving the morning of July 31, 2011
when she was pulled over by the police to your affiant, which your affiant observed to be a
tan colored Chevrolet Cavalier, four door sedan, bearing Arizona registration 993-HED.
       5.     On August 13, 2011, your affiant and CI Michael Henderson conducted an
interview of Corbert Goldtooth at the Window Rock Detention Center in Window Rock,
Arizona regarding his activities on or about July 30, 2011 and July 31, 2011. Corbert was

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advised of his rights utilizing an FD-395 Advice of Rights Form, which he signed,
indicating that he was willing to speak with investigators without an attorney present.
Corbert advised that he tried to get some cigarettes from a couple of kids that were outside
the Conoco store in Fort Defiance, Arizona. Gage and Myron were with Corbert at that
time. According to Corbert, he was drunk at the time, and he probably told the kids to
give him some cigarettes in a threatening way. Corbert advised that he could not recall
getting any cigarettes or any other items from the two kids, nor could he recall what he,
Myron, or Gage might have said to the two kids at that time.
       6.      On August 13, 2011, your affiant and CI Henderson attempted to conduct an
interview of Myron Tsosie at the Window Rock Detention Center in Window Rock,
Arizona regarding his activities on or about July 30, 2011 and July 31, 2011. After being
                             -
advised of his rights utilizing a FD-395 Advice of Rights Form, Myron indicated that he
was not willing to speak with investigators without his attorney present. Your affiant and
CI Henderson then terminated the interview.
       7.      On August 13, 2011, your affiant and CI Henderson conducted an interview
of Gage Goldtooth at the Window Rock Detention Center in Window Rock, Arizona
regarding his activities on or about July 30, 2011 and July 31, 2011. Gage was advised of
his rights utilizing a FD-395 Advice of Rights Form, which he signed, indicating he was
willing to speak with your affiant and CI Henderson without an attorney present. During
the interview, your affiant observed sutures on the fingers of Gage's left hand. When
asked about his activities on the morning of July 31, 2011, Gage advised that he was
possibly drunk and was attempting to skateboard when he tripped on 'some glass, referring
to the cuts on his left hand. Gage then indicated to your affiant that he wanted an attorney
before he made any other statements. Your affiant and CI Henderson then terminated the
interview.



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       8.     On August 9,2011, your affiant and FBI SA Cheryn Priestino met with and
interviewed Nathaniel Curly, an employee of the Conoco store in Fort Defiance, Arizona.
According to Nathaniel, on or about July 31,2011, during the early morning hours,
Sheldon Davis and his friend Kallen (Nathaniel did not know Kallen's last name) entered
the Conoco store and told another store clerk, Gabriel, about three males that just robbed
them. According to Nathaniel, Sheldon and Kallen told Gabriel that the three males
approached them and that the three males had a knife and a bat at that time. Nathaniel
advised that the three males told Sheldon and Kallen to give them everything they had.
The three males then took some 'Tops" brand tobacco from Sheldon and Kallen and left
the area in a brownish colored car.
       9.      On August 18, 2011, your affiant and CI Michael Henderson conducted an
interview of Kallen Crawford (herein referred to as Kallen) at his place of employment in
Window Rock, Arizona. According to Kallen, on July 31,2011, he and his friend Sheldon
Davis purchased a package of "Tops" brand tobacco from the Conoco store in Fort
Detiance, Arizona. Kallen and Sheldon exited the store and sat down on the east side of
the Conoco store near the ice machine and talked while Kallen rolled each of them a
cigarette. Kallen advised that shortly thereafter, a grayish brown colored car pulled up to
the business and a male (Male 1) with a baseball bat exited the vehicle and approached him
and Sheldon. Kallen described Male 1 as being older and possibly wearing a gray shirt.
Two more males then exited the vehicle and approached Kallen and Sheldon. The second
male (Male 2) was tall and skinny, had short hair, was wearing a green shirt, possibly in his
middle 20's, and was carrying a silver colored "Rambo" style knife. Kallen described the
knife as being approximately 12 inches in length, with notches on the top part of the blade.
Kallen also advised that Male 2's left hand was bleeding. The third male (Male 3) was
older, heavy set, and was carrying a folding pocket knife. Kallen reported that the three
males asked them what set they claim, referring to whether or not Kallen and Sheldon were

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members of a criminal street gang. The three males then told Kallen and Sheldon that
they were members of the Cobras criminal street gang. Male 1 and Male 3 then told them
to give them what they had. Kallen responded that they only had cigarettes, at which time
Male I told Kallen to roll three cigarettes for Male 1, Male 2, and Male 3. Male I then
tapped Kallen on the back of the head with the bat, and Male 3 removed the "beanie" style
cap Kallen was wearing. Male 3 then returned Kallen's cap and told Male 1 and Male 2
that they should leave. They then took Kallen's tobacco      without Kallen's permission or
authority    and they left the Conoco store in the brown colored sedan. Kallen observed a
fourth person in the sedan prior to it driving away, but was unsure if that person was a male
or female. Kallen and Sheldon then went inside the Conoco and told a clerk named
Gabriel that they had just been robbed. Thereafter, Kallen and Sheldon left the store and
began walking on Kit Carson drive toward the church and carwash in Fort Defiance when
they saw that the same brown vehicle that the three males left the Conoco store in had been
stopped by the police at the entrance to the Rio Puerco housing area. According to Kallen,
Male 1, Male 2, and Male 3 were in the vehicle that was stopped by the police. Kallen
advised that Sheldon was scared that he might get hurt by the three males at Conoco store
that robbed them of their cigarettes. Kallen advised that he was concerned because Male 2
had the large silver knife. Kallen did not know the identity of Male 1, Male 2, or Male 3.
       10.     On August 18, 2011, your affiant and CI Michael Henderson conducted an
interview of Sheldon Davis outside his residence. Davis advised that he could not recall
the exact date, but remembered it being a Sunday last month (July), between the hours of
2:00 a.m. and 3:00 a.m., he and his friend Kallen Crawford were hanging out on the east
side of the Conoco store in Fort Defiance, Arizona smoking cigarettes and talking.
Sheldon then saw a car pull up on the north side of the Conoco store and observed a male
(Male 1) exit the right rear passenger seat of the vehicle with a bat. A second male (Male
2) exited the left rear passenger seat of the vehicle. A third male (Male 3) exited the right

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front passenger seat of the vehicle. The three males approached Sheldon and Kallen and
asked them what they claimed, meaning what criminal street gang they were in. Sheldon
and Kallen told them that they did not claim any gangs. Male I then stood behind them.
Sheldon described Male I as having long hair, possibly in his late 20's or early 30's,
approximately 5' II" tall and chubby, with a beard, and was carrying a black in color
child's baseball bat. Male 2 stood in front of Sheldon and Kallen. Sheldon described
Male 2 as being having a bald head, being in his early 20's, approximately 6'00" tall, and
skinny, with a bloody left hand that was wrapped in a white towel, and was wearing a green
shirt with black pants. Male 2 was carrying a large silver colored "Rambo" knife being
approximately 12 to 15 inches in length in his right hand. Male 3 also stood in front of
Sheldon and Kallen. Sheldon described Male 3 as being in his late 20's or early 30's,
approximately 5' 11" tall and chubby, having long hair, with a "goatee" style beard, and
wearing shorts. Male 3 was carrying a black handled folding knife that had a black in
color blade that was approximately 6 inches in length. According to Sheldon, Male 3 then
pointed his knife at Sheldon and told Sheldon to give Male 3 Sheldon's wallet and money,
and instructed Sheldon to empty his pockets. Male 3 then patted down Sheldon's pants
pockets, in what Sheldon believed was an attempt to determine if Sheldon had any
weapons or anything of value in his pockets. Sheldon told the three males that they did
not want any trouble. Male 1 then smacked Kallen on the back ofthe head with the bat
and told him to make them some cigarettes. Male 2 smacked Sheldon in the head with his
hand. According to Sheldon, the three males intimidated him because of their weapons
and their actions. Male 3 took Kallen's "beanie" style cap from Kallen, but later returned
it. Male 3 then told Male 1 and Male 2 that they needed to leave, at which point either
Male 1 or Male 3 grabbed the tobacco from Kallen and all three males returned to the tan
colored car, where they waited for approximately five or ten minutes before leaving the
area. Sheldon reported that a fourth individual, possibly a female, was in driver seat of the

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sedan but that he did not have contact with said individual. Sheldon advised that after the
vehicle left, he and Kallen went inside the store and told a store clerk named Gabriel what
had just happened. Thereafter, Sheldon and Kallen left the Conoco store and began
walking on Kit Carson Drive toward the church and car wash when they observed that a tan
colored sedan matching the description of the vehicle containing the three males from the
Conoco store had been stopped by the police near the entrance to Black Rock Acres
housing area in Fort Defiance, Arizona. Sheldon and Kallen then observed the police
officers take custody of the three males from the vehicle. According to Sheldon, he first
recognized Male 2 as being the same individual that robbed him and Kallen at the Conoco
store as he was removed from the vehicle because of his bloody left hand. Sheldon then
recognized Male I and Male 3 as being the same individuals that robbed him and Kallen at
the Conoco Store. Sheldon met with one of the police officers from the traffic stop who
told him that the three males were being placed under arrest for aggravated battery related
to the incident that occurred at the Conoco store. Sheldon did not know the identity of
Male I, Male 2, or Male 3.
       11.     On August 18, 2011, your affiant received a copy of a Navajo Department of
Law Enforcement, Window Rock District, Incident Report Form, number 01-11-019105
from CI Michael Henderson. According to the report, on July 31, 20 II, at approximately
2:50 a.m., NDLE Officer Leland Tom was dispatched to Fort Defiance, Arizona regarding
a possible intoxicated driver in a tan sedan was at the Conoco store. Officer Tom was also
informed that the occupants of said vehicle were threatening customers at the Conoco
store. According to the report, Officer Tom made a traffic stop on said vehicle, which was
identified in the report as a 1996 Chevrolet four door sedan bearing license plate 993-HED.
According to the report, the driver was identified as Valerie Apachito, the front passenger
was later identified by his photo identification card as Myron Tsosie, the right rear
passenger identified himself as Corbert Goldtooth. According to the report, the left rear

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passenger identified himself as Gage Goldtooth. The report indicated that Gage's left
hand was covered in blood and that he appeared to be trying to stop the bleeding from two
deep cuts to his fingertips by wrapping a white towel around his hand. The report also
indicated that an officer met with two males who wanted to remain anonymous due to fear
of retaliation. The two males told the officer that the three males that were arrested from
inside the tan sedan were the same individuals that attempted to rob them earlier at the
Conoco station. According to the report, the two males told the officers that "they wanted
our wallet, money and asked what we had in our pockets." The two males also reported to
the officer that they were forced to give up their "smokes" that they had just purchased
from the Conoco station moments before the three males approached them. The report
indicated that Officer Tom obtained the names of the two males that reported being robbed,
but their names were not listed in the report. The report also indicated that Officer Tom
observed the large silver knife being thrown from the window of the tan sedan during the
traffic stop. The silver knife was described as being long, with a single edged blade and
jagged teeth opposite of the sharp edge of the knife. The report also indicated that a black
basebal1 bat was recovered from the rear passenger area of the tan sedan, and that a black
pocket knife was recovered from the person of a male (Myron Tsosie) while being booked
in at the Window Rock Detention Center.
       12.      Based on the information set forth in this affidavit, your affiant submits that
there is probable cause to believe that on or about July 31, 2011, in the District of Arizona,
and within the confines of the Navajo Nation Indian Reservation, Indian Country, the
defendants, Corbert Goldtooth (an adult Indian male), Gage Goldtooth (an adult Indian
male), and Myron Tsosie (an adult Indian male) did, by force, intimidation, and violence,
take from the person and presence of Kallen Crawford (an adult Indian male) and Sheldon
Davis (an adult Indian male) a thing of value, that being a package of Tops brand tobacco,
in violation of Title 18, United States Code, Sections 2111,1153, and 2.

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       Further your affiant saith not.


     I declare under penalty of perjury under the law of the United States of America that
the foregoing is true and correct.


                                           atthew W Shelley
                                         Special Agent
                                         Federal Bureau of Investigation



Sworn and subscribed to before me this 22 nd day of August 2011.



                                         Mat'kRSPey             V
                                         United States MagistrateJudge




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